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                              United States District Court, Northern District of Illinois

     Name of Assigned Judge        Rebecca R. Pallmeyer              Sitting Judge if Other
        or Magistrate Judge                                           than Assigned Judge

   CASE NUMBER                           13 C 481                                DATE                      4/15/2013
            CASE                         Danielle Mowatt vs. Playboy Enterprises International, Inc., et al
            TITLE

  DOCKET ENTRY TEXT

  Pursuant to Notice, the Plaintiff dismisses this action with prejudice as to Defendant Playboy Enterprises
  International, Inc., only. Motion to dismiss [26] is stricken as moot. Ruling set for 5/24/2013 on Plaintiff’s
  motion to strike Defendant Adrenaline Y2K’s affirmative defenses to stand.




                                                                                                                    Docketing to mail notices.




                                                                                              Courtroom Deputy                 ETV
                                                                                                        Initials:




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